                         UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF MISSOURI
                              SOUTHERN DIVISION

                                   MINUTE SHEET

UNITED STATES OF AMERICA                                  Date:     January 18, 2019

vs.                                                   Case No.: 18-03137-01-CR-S-BP

DEANNA L. HARRIS


Honorable David P. Rush, presiding at Springfield, Missouri

Nature of Hearing: Status Conference

Time Commenced: 9:55 a.m.                                     Time Terminated: 9:58 a.m.


                                    APPEARANCES

Plaintiff:   Jody Stockard, AUSA
Defendant:   Ann Koszuth, FPD
USPPTS:      Joel Woodward


Proceedings: Parties appear as indicated above. Defendant appears in person.

             Detention Hearing was held on December 18, 2018. The issue of detention
             was taken under advisement. Defendant released on bond. Defendant has
             read and agrees to abide by the Appearance Bond and Order Setting
             Conditions of Release.

             Defendant released on bond.


Courtroom Deputy/ERO: Karla Berziel




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